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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

 ADAM FRANCHI, Individually and On             )
 Behalf of All Others Similarly Situated,      )
                                               )
                        Plaintiff,             )   Case No. 1:20-cv-00078-LPS
                                               )
        v.                                     )
                                               )
 AK STEEL HOLDING CORPORATION,                 )
 RALPH S. MICHAEL, III, DENNIS C.              )
 CUNEO, SHERI H. EDISON, MARK G.               )
 ESSIG, WILLIAM K. GERBER,                     )
 GREGORY B. KENNY, ROGER K.                    )
 NEWPORT, DWAYNE A. WILSON,                    )
 VICENTE WRIGHT, ARLENE M.                     )
 YOCUM, CLEVELAND-CLIFFS INC., and             )
 PEPPER MERGER SUB INC.,                       )
                                               )
                        Defendants.            )


                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff hereby

voluntarily dismisses the above-captioned action (the “Action”) without prejudice. Defendants

have filed neither an answer nor a motion for summary judgment in the Action, and no class has

been certified in the Action.

 Dated: March 6, 2020                              RIGRODSKY & LONG, P.A.

                                             By: /s/ Brian D. Long
                                                 Brian D. Long (#4347)
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